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           IN THE UNITED STATES DISTRICT COURT FO^
                    SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION
                                                                 im            ^
                                                                                     J-
UNITED STATES OF AMERICA                *
                                        ★


             vs.                        *         CR 113-220-3
                                        *


EDUARDO JUAREZ GALLEGOS                 *




                                    ORDER




       In 2014, Defendant Eduardo Juarez Gallegos was convicted

of    conspiracy    to   distribute         and   possess    with     intent   to

distribute 5 grams or more of methamphetamine, a violation of

21 U.S.C. § 846.         Defendant was sentenced to 121 months of

imprisonment on this count.              Defendant did not appeal the

conviction or sentence.             Defendant has never filed a motion

for habeas corpus relief.

       On June 17, 2016, Defendant filed a motion for reduction

of his sentence, contending that he is eligible for post-

conviction relief pursuant to the new rule of constitutional

law   announced    in Johnson v.       United      States.   135 S.    Ct.   2551


(2015).     Specifically, in Johnson, the United States Supreme

Court found the "residual clause" of the Armed Career Criminal

Act, 18 U.S.C. § 924(e)(2)(B)(ii), to be void for vagueness

and    a   violation     of   the    Constitution's      guarantee      of     due

process.     Id. at 2563.      In Welch v. United States. 136 S. Ct.

1257, 1265 (2016), the Supreme Court held Johnson retroactive
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in cases on collateral review.


      In    order   to   attack       the   legality   of   his    sentence,

Defendant must petition for habeas corpus relief under 28

U.S.C. § 2255 by filing a motion to vacate, set aside or

correct    his sentence.      Here, Defendant's        motion to reduce

sentence does not reference § 2255 in any way.               Nevertheless,

this Court intends to recharacterize his motion as his first

§ 2255 motion.       See Castro v. United States. 540 U.S. 375

(2003)     (explaining   that     a    district    court    must   notify   a

litigant of its intent to recharacterize a pro se motion as a

§ 2255 habeas petition).          This recharacterization means that

any subsequent § 2255 motion will be subject to the statutory

restriction on ^^second and successive" § 2255 motions.               See 28

U.S.C. § 2255(b) & 2255(h) (prohibiting claims in second or

successive § 2255 motions except under certain specified

circumstances). Accordingly, Defendant must notify this Court

in writing within thirty (30) days hereof if he contests the

recharacterization       of   his      motion,    whether   he     wishes   to

withdraw the motion, or whether he wishes to amend the motion

to assert any other § 2255 claims aside from his Johnson

claim.^    If Defendant fails to respond to this Order within 30



     ^ The CLERK is DIRECTED to attach a copy of the standard
form for § 2255 motions to Defendant's service copy of this
Order in case he decides to amend his filing to include
additional § 2255 claims.   If Defendant chooses to amend his
motion, he must set forth all his § 2255 claims on the attached
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days,        his   motion   for   sentence    reduction     will     be

recharacterized as a § 2255 motion, the Clerk will docket it

as a new civil action,^ and his claims will be addressed under

the standards applicable to § 2255 motions.^

      ORDER ENTERED at Augusta, Georgia, this /S^lay of
July, 2016.




                                                     IDAL HALL

                                    united/states district judge
                                         JeRN district of GEORGIA




form, including his Johnson claim. In other words, if Defendant
files an amended motion on the form provided, the Court will not
consider the original motion; rather, the amended motion will
supersede the original motion in its entirety. See Pintando v.
Miami-Dade Hous. Agency. 501 F.3d 1241, 1243 (11'^'^ Cir. 2007);
Lowerv V. Ala. Power Co. . 483 F.3d 1184, 1219 (ll"^^ Cir. 2007).
Any new claims filed by Defendant are subject to the one-year
statute of limitations of the Antiterrorism and Effective Death
Penalty Act {"AEDPA"), see 28 U.S.C. § 2255(f), and all other
applicable standards governing § 2255 actions.

     ^       The Clerk shall docket the new civil action as a motion
under 28 U.S.C. § 2255 with a nunc pro tune filing date of June
17, 2016.


         ^     The Court notes that the United States has filed a
response in opposition to Defendant's motion, in            which it
contends that Johnson is not implicated in his case.       The Court,
however, cannot consider the merits of the claim in the present
posture of the case.
